               IN THE UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA

EUGENE O’MALLEY                     :     JURY TRIAL DEMANDED
    Plaintiff                       :
                                    :
      vs.                           :
                                    :     CASE NO.: 3:17-cv-01419-RDM
SUNDANCE VACATIONS, INC.            :
    Defendant                       :

AMENDED STIPULATED MOTION FOR CORRECTION OF DEFENDANT

      Plaintiff Eugene O’Malley and defendant Dowd Marketing, Inc.,
through their undersigned counsel, respectfully move this Court for an
Order correcting the named defendant in this matter. In support of this
motion, the parties stipulate and state as follows:

    1.     Plaintiff initiated this action on August 11, 2017 by filing a
Complaint naming Sundance Vacations, Inc. as the defendant. (Doc. 1).

     2.     Defendant Sundance Vacations, Inc. acknowledged on April 30,
2018 in its Rule 7.1 filing that plaintiff’s former employer, and the proper
defendant in this matter, is Dowd Marketing, Inc. (Doc. 36).

      3.   Plaintiff’s claims against Dowd Marketing, Inc. arise out of the
same conduct and occurrences and are the same as the claims previously
alleged against Sundance Vacations, Inc.

      4.    Dowd Marketing, Inc. received notice of this action at the time it
was initiated, and will not be prejudiced in defending on the merits.

     5.    Dowd Marketing, Inc. knew that this action would have been
brought against it, but for a mistake as to the defendant’s identity.

     6.     Donna A. Walsh, Esq. represents Dowd Marketing, Inc. and is
authorized to enter into this Stipulation on behalf of Dowd Marketing, Inc.
     WHEREFORE, pursuant to the foregoing stipulation, the parties
respectfully request that this Honorable Court grant an order substituting
Dowd Marketing, Inc. as defendant in this case in place of the original
named defendant, dismissing Sundance Vacations, Inc. as a party and
amending the caption to reflect the substitution.


Dated: 06/26/2018

/s/ George R. Barron
George R. Barron, Esquire
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Counsel for Plaintiff

/s/ Donna A. Walsh
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Counsel for Defendant
                        CERTIFICATE OF SERVICE


     I, George R. Barron, hereby certify that a true and correct copy of the

foregoing Amended Stipulated Motion for Correction of Defendant was served

upon the following counsel of record via the Court’s ECF system on this 26h

day of June, 2018:


                       Donna A. Walsh, Esquire
                       Myers, Brier & Kelly, LLP
                       425 Spruce Street, Suite 200
                       Scranton, PA 18503


                                                /s/ George R. Barron
